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                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND

                                                                           *
B.N.S., A MINOR CHILD BY HER PARENTS
AND NEXT FRIENDS CHRISTINE AND                                             *
BRIAN STEWART,
                                                                           *
       PLAINTIFF,
                                                                           *
       v.                                                                             Case No. 17-cv-2670 ELH
                                                                           *
VICTOR BRITO, CHIEF OF POLICE,
HAGERSTOWN POLICE DEPARTMENT,                                              *
ET AL.,
                                                                           *
        DEFENDANTS.
                                    *    *     *    *     *   *    *
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                                  MOTION TO DISMISS OR, ALTERNATIVELY,
                                        FOR SUMMARY JUDGMENT

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